                 CASE 0:18-cr-00194-NEB-DTS Doc. 166 Filed 09/22/20 Page 1 of 1
                       IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MINNESOTA

                                      CRIMINAL JURY TRIAL
UNITED STATES OF AMERICA,                                              COURT MINUTES
                                                              Case Number: 18-cr-194 (1) (NEB/DTS)
                       Plaintiff,
 v.                                                    Date:                September 22, 2020
                                                       Courthouse:          St. Paul
Kenneth Davon Lewis (1),                               Courtroom:           3A
                                                       Court Reporter:      Erin Drost
                                                       Time Commenced:      9:10 a.m. - 10:35 a.m.
                       Defendant.                                           11:00 a.m. - 12:15 p.m.
                                                                            1:20 p.m. - 3:00 p.m.
                                                                            3:20 p.m. - 4:20 p.m.
                                                       Time Concluded:      4:20 p.m.
                                                       Time in Court:       5 hours and 20 minutes

Jury Trial before Nancy E. Brasel, United States District Judge, in Courtroom 15E, Minneapolis, Minnesota.


APPEARANCES:
 Plaintiff:     Thomas Calhoun-Lewis, Assistant U.S. Attorney
 Defendant:     Kevin Riach, CJA Appointed Attorney


PROCEEDINGS:
 : Preliminary Instructions.
 : Jury Trial -(Trial Day 2)
 : Opening Statements by both parties
 : Government Witnesses: Officer Thomas Sharon, Michael Moriarty, Officer Phillip Wege, Detective Autumn
   Nelson, and Officer Stephen Beberg
 : Defendant’s motion for mistrial was moved, argued and denied.
 : Defendant’s second motion for mistrial was moved, argued and denied.
 : Trial continued to September 23, 2020 at 9:00 a.m.

Date: September 22, 2020                                                                               s/KW
                                                       Signature of Courtroom Deputy to Judge Nancy E. Brasel
